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                                  UNITED STATES OF AMERICA
                                            Before the
                                 OFFICE OF TITRIFT SUPERVISION



                                                  )
     In the Matter of                             )       Order No.: SE-10-043
                                                  )
                                                  )
     LYDIAN PRIVATE BANK                          )       Effective Date: September 16, 2010
                                                  )
     Palm Beach, Florida                          )
     OTS Docket No. 16406                         )
                                                  )



                                   ORDER TO CEASE AND DESIST


             WHEREAS, Lydian Private Bank, Palm Beach, Florida, OTS Docket No. 16406

     (Association), by and through its Board of Directors (Board), has executed a Stipulation and

     Consent to Issuance of an Order to Cease and Desist (Stipulation); and

             WHEREAS, the Association, by executing the Stipulation, has consented and agreed to

     the issuance of this Order to Cease and Desist (Order) by the Office of Thritf Supervision (OTS)

     pursuant to 12 U.S.C. § 1818(b); and

             WHEREAS, pursuant to delegated authority, the OTS Regional Director for the

     Southeast Region (Regional Director) is authorized to issue Orders to Cease and Desist where a

     savings association has consented to the issuance of an order.

             NOW, THEREFORE, IT IS ORDERED that:




                                                  EXHIBIT
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     Order to Cease and Desist                            M
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          Cease and Desist.

          1.      The Association, its institution-affiliated parties,' and its successors and assigns, shall

          cease and desist from any action (alone or with others) for or toward causing, bringing about,

          participating in, counseling, or the aiding and abetting the unsafe or unsound banking practices

          that resulted in:

                  (a)       operating the Association with an inadequate level of capital protection for the

                  volume, type, and quality of assets held by the Association;

                  (b)         operating the Association without an adequate number of experienced and

                  qualified managers and lending staff and failing to establish and implement an

                  appropriate management succession plan;

                  (c)         operating the Association with a board of directors that has failed to exercise

                   adequate supervision over, and provide adequate direction to, management of the

                  Association to prevent unsafe and unsound banking practices and violations of laws or

                   regulations;

                   (d)        failing to accurately reflect the condition of the Association in Thrift Financial

                   Reports;
-    --            (e)-       operaing the .Nssocia tion without adequate and ff         e   re credit ri lc m anagemen t—   —

                   policies, procedures, systems and staff;

                   (f)        operating the Association without an adequate and effective compliance program;

                   (g)        failing to ensure that all transactions with affiliates comply with applicable laws

                   and regulations; and

                   (h)        operating in contravention of supervisory policy statements and other guidance,


          1 The term "institution-affiliated party" is defined at 12 C.F.R. § 1813(u).
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             including:

                         (i)     Interagency Guidelines Establishing Standards for Safety and Soundness;

                         and

                         (ii)    Interagency Policy Statement on Income Tax Allocation in a Holding

                         Company Structure contained in OTS Chief Executive Officer Memorandum No.

                         98.

    2.       The Association, its institution-affiliated parties, and its successors and assigns, shall also

     cease and desist from any action (alone or with others) for or toward causing, bringing about,

    participating in, counseling, or the aiding and abetting of any violations of the following

     regulations:

              (a)        12 C.F.R. § 563.41 and 12 C.F.R. Patr 223 (regarding transactions with affiliates);

              (b)        12 C.F.R. § 203.4 (requiring the compilation of loan data);

              (c)        24 C.F.R. §§ 3500.7(c)(1) and 3500.8(b) (regarding good faith estimates and

              HUD-1 statements);

              (d)        12 C.F.R. § 563e.42 (regarding the Community Reinvestment Act); and

              (e)        12 C.F.R. Part 562 (regarding regulatory reporting standards).



     3.       By December 31, 2010, the Association shall have and maintain a Tier 1 (Core) Capital

     Ratio equal to or greater than eight percent (8%) and a Total Risk-Based Capital Ratio equal to

     or greater than twelve percent (12%).2




     2 The requirement in Paragraph 3 to have and maintain a specific capital level means that the Association may not be
     deemed to be "well-capitalized" for purposes of 12 U.S.C. §18310 and 12 C.F.R. Part 565, pursuant to 12 C.F.R.
     §565.4(b)(1)(iv),
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    4.      By October 29, 2010, the Association shall submit to the Regional Director for review

    and nonobjection a written plan to achieve and maintain the Association's capital at the levels

    prescribed in Paragraph 3 (Capital Plan). At a minimum, the Capital Plan shall:

             (a)     identify the specific sources of additional capital and the timeframes and methods

             by which additional capital will be raised, including specific target dates and

             corresponding capital levels;

             (b)     detail the Association's capital preservation and enhancement strategies with

             specific narrative goals;

             (c)      address the requirements and restrictions imposed by this Order relating to capital

             under at least three (3) different forward-looking scenarios involving progressively

             stressed economic environments;

             (d)      include detailed quarterly financial projections, including Tier 1 (Core) and Total

             Risk-Based Capital Ratios;

             (e)      address the Association's level of classified assets, ALLL, earnings, asset

             concentrations, liquidity needs, and trends in the foregoing areas; and

             (f)      address current and projected trends in real estate market conditions.

     5.      Upon receipt of wr itten nonobjWtion fri m the Rei
                                                             gonal Director, the Association shall -        -   - --

     implement and adhere to the Capital Plan. A copy of the Capital Plan and the Board meeting

     minutes relfecting the Board's adoption thereof shall be provided to the Regional Director within

     ten (10) days atfer the Board meeting.

     6.      On a monthly basis, beginning with the first month following receipt of nonobjection

     from the Regional Director, the Board shall review the Association's compliance with the

     Capital Plan. At a minimum, the Board's review shall include:

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             (a)       a comparison of actual operating results to projected results;

             (b)       detailed explanations of any material deviations; 3 and

             (c)       a discussion of specific corrective actions or measures that have been or will be

             implemented to address each material deviation.

    7.       Within fifteen (15) days atfer: (a) the Association fails to meet the capital requirements

    prescribed in Paragraph 3; (b) the Association fails to comply with the Capital Plan prescribed in

    Paragraph 4; or (c) any written request from the Regional Director, the Association shall submit

    a written Contingency Plan that is acceptable to the Regional Director.

    8.        The Contingency Plan shall detail the actions to be taken, with specific time frames, to

    achieve one of the following results by the later of the date of receipt of all required regulatory

    approvals or sixty (60) days after the implementation of the Contingency Plan: (a) merger with,

    or acquisition by, another federally insured depository institution or holding company thereof; or

    (b) voluntary dissolution by filing an appropriate application with the OTS in conformity with

    applicable laws, regulations and regulatory guidance.

    9.        Upon receipt of written notiifcation from the Regional Director, the Association shall

     implement and adhere to the Contingency Plan immediately. The Association shall provide the

    Region—al-Difectowriften
                    r- with  status reports detailing t Assocation's progress in

     implementing the Contingency Plan by no later than the first (1 5t) and fitfeenth (15 th) of each

    month following implementation of the Contingency Plan.




     3 A. deviation shall be considered material under this Paragraph of the Order when the Association determines that it
     needs to adjust its identiifed sources of additional capital, timeframes, methods, or target dates by which it will raise
     capital.

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    Financial Reporting.

    10.     Effective immediately, the Association shall ensure that its books and records, financial

    reports and statements are timely and accurately prepared and filed in compliance with generally

    accepted accounting principles and applicable laws, regulations, and regulatory guidance

    including, but not limited to, 12 C.F.R. Part 562 and the Thritf Financial Repotr (TFR)

    instructions.

    11.     Effective immediately, the Association shall continue risk-weighting all payment option

    adjustable rate mortgage loans at 100 percent for risk-based capital purposes on the

    Association's Thrift Financial Report.

    12.     Effective immediately, the Association shall ensure that its allowance for loan and lease

    loss (ALLL) on troubled debt restructurings (TDRs) is calculated in accordance with ASC 310-

    10, Accounting by Creditors for Impairment of a Loan, and OTS Thrift Bulletin 85, Regulatory

    and Accounting Issues Related to Modifications and TDRs of 14 Residential Mortgage Loans.

    Credit Risk Management.

     13.     Within sixty (60) days, the Association shall employ an experienced and qualified credit

    risk manager who will work independently of the loan origination and approval process and has
–                                                                                  - -       -          --   — --
     not previously been part of the loan origination or approval process.

     14.        Within sixty (60) days, the Association shall amend its loan approval authorities to

     incorporate guidelines requiring the prior approval by a majority of the loan committee and

     Board for loans and modifications that have balances of One Million Dollars $1,000,000 or

     greater.




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    Board Oversight.

    15.       Effective immediately, the Board shall conduct regular monthly board meetings to

    discuss the Association's business operations, financial results, significant transactions, and

    performance. The Board's discussions and decisions shall be detailed in the board meeting

    minutes.

    16.       Within sixty (60) days, the Board shall submit a written plan to strengthen and improve

    the Association's corporate govenrance structure (Governance Plan) that is acceptable to the

    Regional Director. At a minimum, the Governance Plan shall:

              (a)       list and describe the repotrs that will be submitted to the Board for review,

              including the frequency of such reports (e.g., monthly, quarterly);

              (b)       establish criteria identifying transactions that must be submitted to the Board for

              review;

              (c)       specify the supporting documents or other information that must be included with

              reports and transactions submitted to the Board for review under subparagraph (a); and

              (d)       establish monitoring processes and systems to track and ensure completion of

              Board adopted actions and decisions within established timeframes.

     17.      Upon receipt of4                             eional DirectoatAie Governance Plan
                             . ritten notificatifrorn the Rg

    is acceptable, the Association shall implement and adhere to the Governance Plan.

     Compliance Program.

     18.       Within sixty (60) days, the Association shall retain a qualified and experienced full-time

     compliance officer. The Association shall comply with the requirements Paragraph xx of this

     Order.



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    19.     Within sixty (60) days, the Association shall revise its written consumer compliance

    program (Compliance Program) to addresse all corrective actions set forth in the 2009 ROE

    relating to consumer compliance. The Association's Compliance Program shall:

            (a)      be suppotred by adequate staffing and resources;

            (b)      ensure compliance with all applicable consumer and other compliance laws,

                     regulations and regulatory guidance (Compliance Laws and Regulations); 4 and

             (c)     be appropriate for the Association's size, complexity, product lines and business

                     operations.

    Tax Sharing Agreement.

    20.      Effective immediately, the Association shall comply with the Interagency Policy

    Statement on Income Tax Allocation in a Holding Company Structure contained in OTS Chief

    Executive Officer Memorandum No. 98.

    Transactions with Affiliates.

    21.      Effective immediately, the Association shall not engage in any new transaction with an

    affiliate unless, with respect to each such transaction, the transaction has been reviewed and

    approved by the Board and the Association has complied with the notice requirements set forth

    in F2 C.F.R. §-5-63741-(C)(4Vw-hia notice §hall-inclif&the informationset-fOrth in 12 C.F.R. § - ---

    563.41(c)(3). The Board shall ensure that any transaction with an affiliate for which notice is

     submitted pursuant to this Paragraph, complies with the requirements of 12 C.F.R. § 563.41 and

    Regulation W, 12 C.F.R. Part 223.




     4 The term "consumer and other compliance laws, regulations and regulatory guidance" includes all laws and
     regulations referenced in Section 1100 (Compliance Oversight Examination Program) of the OTS Examination
     Handbook.

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    22.     Within thirty (30) days, the Association shall conduct a review of all outstanding

    arrangements or contracts with affiliates regarding the provision of services or products,

    including all transactions discussed in the 2009 ROE, and ensure that such transactions comply

    with the requirements of 12 C.F.R. § 563.41 and Regulation W, 12 C.F.R. Part 223 (TWA

    Review). The TWA Review shall identify all transactions reviewed and any required corrective

    actions. . Within forty-five (45) days, the Association shall submit a copy of the TWA Review

    to the Regional Director.

    Brokered Deposits.

    23.     Effective immediately, the Association shall comply with the requirements of 12 C.F.R. §

    337.6(b).

    Directorate and Management Changes.

    24.      Effective immediately, the Association shall comply with the prior notification

    requirements for Changes in Directors and Senior Executive Officers s set forth in 12 C.F.R. Part

     563, Subpart H.

    Dividends and Other Capital Distributions.

     25.     Effective immediately, the Association shall not declare or pay dividends or make any

     other capiTaFdi-striati-ons, as t at term is defined-in 1-2 C.E.RA-5-63A-41, without receiVing fhe   —

     prior written approval of the Regional Director in accordance with applicable regulations and

     regulatory guidance. The Association's written request for approval shall be submitted to the

     Regional Director at least forty-five (45) days prior to the anticipated date of the proposed

     declaration, dividend payment or distribution of capital.




     5 The term "Senior Executive Ofifcer" is defined at 12 CYR. § 563.555.
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      Employment Contracts and Compensation Arrangements.

      26.     Effective immediately, the Association shall not enter into, renew, extend or revise any

      contractual arrangement relating to compensation or benefits for any Senior Executive Officer or

      director of the Association, unless it first provides the Regional Director with not less than thirty

      (30) days prior written notice of the proposed transaction. The notice to the Regional Director

      shall include a copy of the proposed employment contract or compensation arrangement or a

      detailed, written description of the compensation arrangement to be offered to such officer or

      director, including all benefits and perquisites. The Board shall ensure that any contract,

      agreement or arrangement submitted to the Regional Director fully complies with the

      requirements of 12 C.F.R. Part 359, 12 C.F.R. §§ 563.39 and 563.161(b), and 12 C.F.R. Part 570

      — Appendix A, and the Interagency Guidance on Sound Incentive Compensation Policies

      contained in OTS Chief Executive Officer Memorandum No. 354.

      Golden Parachute and Indemnification Payments.

      27.     Effective immediately, the Association shall not make any golden parachute payment 6 or

      prohibited indemnification payment 7 unless, with respect to each such payment, the Association

      has complied with the requirements of 12 C.F.R. Part 359 and, as to indemnification payments,
--- 1-2C .F

      Third Party Contracts.

      28.     Effective immediately, the Association shall not enter into any arrangement or contract

      with a third party service provider that is signiifcant to the overall operation or financial




      6 The term "golden parachute payment" is defined at 12 C.F.R. § 359.1(f).
      'The term "prohibited indemnification payment " is defined at 12 C.F.R. § 359.1(1).

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    condition of the Association g or outside the Association's normal course of business unlesswith

    respect to each such contract, the Association has: (a) provided the Regional Director with a

    minimum of thirty (30) days prior written notice of such arrangement or contract and a written

    determination that the arrangement or contract complies with the standards and guidelines set

    forth in Thritf Bulletin 82a (TB 82a); and (b) received written notice of non-objection from the

    Regional Director.

     Violations of Law and/or Regulation.

     29.     Within thirty (30) days, the Association shall ensure that all violations of law and/or

     regulation discussed in the 2009 ROE are corrected and that adequate policies, procedures and

     systems are implemented to prevent future violations.

     Board Oversight of Compliance with Order.

     30.      Within thirty (30) days, the Board shall designate a committee to monitor and coordinate

     the Association's compliance with the provisions of this Order and the completion of all

     corrective actions required in the 2009 ROE (Oversight Committee). The Oversight Committee

     shall be comprised of four (4) or more directors, the majority of whom shall be independent9

     directors.


     8 A contract will be considered significant to the overall operation or financial condition of the Association where
     the annual contract amount equals or exceeds two percent (2%) of the Association's total capital, where there is a
     foreign service provider, or where it involves information technology that is critical to the Association's daily
     operations without regard to the contract amount.

     9 For purposes of this Order, an individual who is "independent" with respect to the Association shall be any
     individual who:
              (a)         is not employed in any capacity by the Association or Holding Company, its subsidiaries, or its
               afifliates, other than as a director;
               (b)        does not own or control more than ten percent (10%) of the outstanding shares of the Association,
              Holding Company or any of its affiliates;
               (0)        is not related by blood or marriage to any officer or director of the Association, Holding Company
               or any of its afifliates, or to any shareholder owning more than ten percent (10%) of the outstanding shares
               of the Association, Holding Company or any of its affiilates, and who does not otherwise share a common
               financial interest with any such officer, director or shareholder;

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    31.     Within sixty (60) days after the end of each quatrer, beginning with the quarter ending

     September 30, 2010, the Oversight Committee shall submit a written compliance progress report

    to the Board (Compliance Tracking Report). The Compliance Tracking Report shall, at a

     minimum:

            (a)      separately list each corrective action required by this Order and the 2009 ROE;

            (b)      identify the required or anticipated completion date for each corrective action; and

            (c)      discuss the current status of each corrective action, including the action(s) taken

            or to be taken to comply with each corrective action.

     32.    Within sixty (60) days after the end of each quarter, beginning with the quarter ending

     September 30, 2010, the Board shall review the Compliance Tracking Report and all reports

     required to be prepared by this Order. Following its review, the Board shall adopt a resolution:

     (a) certifying that each director has reviewed the Compliance Tracking Report and all required

     reports; and (b) documenting any corrective actions adopted by the Board. A copy of the

     Compliance Tracking Report and the Board resolution shall be provided to the Regional Director

     within ten (10) days atfer the Board's review of the Compliance Tracking Repotr.

     33.     Nothing contained herein shall diminish the responsibility of the entire Board to ensure

                                                         t er. The
                i:i comphairce with the provMons ofThis OA
     the AssociaiW                                                                                shall review and

     adopt all policies and procedures required by this Order prior to submission to the OTS.




             (d)      is not indebted, directly or indirectly, to the Association, Holding Company or any of its afifliates,
             including the indebtedness of any entity in which the individual has a substantial financial interest, in an
             amount exceeding ten percent (10%) of the Association's total Tier 1 (Core) capital; and
             (e)      has not served as a consultant, advisor, underwriter, or legal counsel to the Association, Holding
             Company or any of its affiliates.



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     Effective Date, Incorporation of Stipulation.

     34.    This Order is effective on the Effective Date as shown on the first page. The Stipulation

     is made a part hereof and is incorporated herein by this reference.

     Duration.

     35.     This Order shall remain in effect until terminated, modified, or suspended by written

     notice of such action by the OTS, acting by and through its authorized representatives.

     Time Calculations.

     36.     Calculation of time limitations for compliance with the terms of this Order run from the

     Effective Date and shall be based on calendar days, unless otherwise noted.

     37.     The Regional Director, or an OTS authorized representative, may extend any of the

     deadlines set forth in the provisions of this Order upon written request by the Association that

     includes reasons in support for any such extension. Any OTS extension shall be made in writing.

     Submissions and Notices.

     38.     All submissions, including any reports, to the OTS that are required by or contemplated

     by this Order shall be submitted within the specified timeframes.

     39.     Except as otherwise provided herein, all submissions, requests, communications,

     consents or other documents relati
                                     ngto thi 0Tder shall be in writing and sent by first c ass .

     mail (or by reputable overnight carrier, electronic facsimile transmission or hand delivery by

     messenger) addressed as follows:

             (a)      To the OTS:
                      Regional Director
                      Office of Thrift Supervision
                      1475 Peachtree St., N.E.
                      Atlanta, Georgia 30309
                      404.897.1861 (Fax)


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            (b)      To the Association:
                     Lydian Private Bank
                     c/o Rory Brown, Chairman
                     180 Royal Palm Way
                     Palm Beach, FL 33480

     No Violations Authorized.

     40.    Nothing in this Order or the Stipulation shall be construed as allowing the Association, its

    Board,__offic_ers, or emp1o_yees. to_violate_ an_y            or_regulation.

     IT IS SO ORDERED.


                                                         OFFICE OF THRIFT SUPERVISION


                                                                        /s/

                                                         By:
                                                            James G. Price
                                                            Regional Director, Southeast Region

                                                         Date: See Effective Date on page 1




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                                      UNITED STATES OF AMERICA
                                                Before the
                                     OFFICE OF THRIFT SUPERVISION




                                                           )
     In the Matter of                                      )       Order No.: SE-10-043
                                                           )
                                                           )
     LYDIAN PRIVATE BANK                                   )       Effective Date: September 16, 2010
                         - ---                        --- -Y   -
     Palm Beach, Florida                                  )
     OTS Docket No. 16406                                 )



      STIPULATION AND CONSENT TO ISSUANCE OF ORDER TO CEASE AND DESIST


             WHEREAS, the Office of Thrift Supervision (OTS), acting by and through its Regional

     Director for the Southeast Region (Regional Director), and based upon information derived from

     the exercise of its regulatory and supervisory responsibilities, has informed Lydian Private Bank,

     Palm Beach, Florida, OTS Docket No. 16406 (Association), that the OTS is of the opinion that

     grounds exist to initiate an administrative proceeding against the Association pursuant to 12

     U.S.C. § 1818(b);

              WHEREAS, the Reiona
                            giDirector, pursuant to egateaut
                                                    deld     hority, is author

     issue Orders to Cease and Desist where a savings association has consented to the issuance of an

     order; and

             WHEREAS, the Association desires to cooperate with the OTS to avoid the time and

     expense of such administrative cease and desist proceeding by entering into this Stipulation and

     Consent to Issuance of Order to Cease and Desist (Stipulation) and, without admitting or denying

     that such grounds exist, but only admitting the statements and conclusions in Paragraphs 1 and 2


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     Stipulation and Consent to Issuance of Order to Cease and Desist
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     below concerning Jurisdiction, hereby stipulates and agrees to the following terms:

     Jurisdiction.

     1.      The Association is a "savings association" within the meaning of 12 U.S.C. § 1813(b)

     and 12 U.S.C. § 1462(4). Accordingly, the Association is "an insured depository institution" as

     that term is defined in 12 U.S.C. § 1813(c).

     2.       Pursuant to 12 U.S.C. § 1813(q), the Director of the OTS is the "appropriate Federal

     banking agency" with jurisdiction to maintain an administrative enforcement proceeding against

     a savings association. Therefore, the Association is subject to the authority of the OTS to initiate

     and maintain an administrative cease and desist proceeding against it pursuant to 12 U.S.C. §

     1818(b).

     OTS Findin2s of Fact.

     3.       Based on its December 14, 2009 examination of the Association (2009 ROE), the OTS

     finds that the Association has engaged in unsafe or unsound banking practices including, but not

     limited to:

              (a)      operating the Association with an inadequate level of capital protection for the

              volume, type and quality of assets held by the Association;

              (b)                                                    ll f experienced and qua lified
                       opera ing t e ssociati'on without an adequateeve

              managers and lending staff and failing to establish and implement an appropriate

              management succession plan;

              (c)      operating the Association with a board of directors that has failed to exercise

               adequate supervision over and provide adequate direction to management of the

              Association to prevent unsafe and unsound banking practices and violations of laws or

              regulations;


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             (d)     failing to accurately relfect the condition of the Association in Thrift Financial

            Reports;

             (e)     operating the Association without adequate and effective credit risk management

            policies, procedures, systems and staff;

             (f)      operating the Association without an adequate and effective compliance program;

             (g)      failing to ensure that all transactions with affiliates comply with applicable laws

             and regulations;

             (h)      operating in contravention of supervisory policy statements and other guidance,

             including:

                      (i)      Interagency Guidelines Establishing Standards for Safety and Soundness;

                      and

                      (ii)     Interagency Policy Statement on Income Tax Allocation in a Holding

                      Company Structure contained in OTS Chief Executive Officer Memorandum No.

                      98;

     4.      Based on its 2009 ROE of the Association, the OTS finds that the Association has

     engaged in violations of law and regulation including, but not limited to:

             (a)       1-2-CT7R. §- 5637.4-1 and T2-C.F11. Part 223-(regarding transactions wit affilUtes);

             (b)       12 C.F.R. § 203.4 (requiring the compilation of loan data);

             (c)      24 C.F.R. §§ 3500.7(c)(1)and 3500.8(b) (regarding good faith estimates and

             HUD-1 statements);

              (d)      12 C.F.R. § 563e.42 (regarding the Community Reinvestment Act); and

              (e)      12 C.F.R. Part 562 (regarding regulatory reporting standards).




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     Stipulation and Consent to Issuance of Order to Cease and Desist
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     Consent.

     5.        The Association consents to the issuance by the OTS of the accompanying Order to

     Cease and Desist (Order). The Association futrher agrees to comply with the terms of the Order

     upon the Effective Date of the Order and stipulates that the Order complies with all requirements

     of law.

     Finality.

     6.        The Order is issued by the OTS under 12 U.S.C. § 1818(b). Upon the Effective Date, the

     Order shall be a final order, effective, and fully enforceable by the OTS under the provisions of

     12 U.S.C. § 1818(i).

     Waivers.

     7.        The Association waives the following:

               (a)    the right to be served with a written notice of the OTS's charges against it as

               provided by 12 U.S.C. § 1818(b) and 12 C.F.R. Part 509;

               (b)    the right to an administrative hearing of the OTS's charges as provided by 12

               U.S.C. § 1818(b) and 12 C.F.R. Part 509;

               (c)    the right to seek judicial review of the Order, including, without limitation, any

               such right—providd-by 1-2-U.S.CA-1-81-8(h), or otherwise to challenge the validity   oftf
               Order; and

               (d)     any and all claims against the OTS, including its employees and agents, and any

               other governmental entity for the award of fees, costs, or expenses related to this OTS

               enforcement matter and/or the Order, whether arising under common law, federal

               statutes, or otherwise.




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     OTS Authority Not Affected.

     8.      Nothing in this Stipulation or accompanying Order shall inhibit, estop, bar, or otherwise

     prevent the OTS from taking any other action affecting the Association if at any time the OTS

     deems it appropriate to do so to fulfill the responsibilities placed upon the OTS by law.

     Other Governmental Actions Not Affected.

     9.      The Association acknowledges and agrees that its consent to the issuance of the Order is

     solely for the purpose of resolving the matters addressed herein, consistent with Paragraph 8

     above, and does not otherwise release, discharge, compromise, settle, dismiss, resolve, or in any

     way affect any actions, charges against, or liability of the Association that arise pursuant to this

     action or otherwise, and that may be or have been brought by any governmental entity other than

     the OTS.

     Miscellaneous.

     10.     The laws of the United States of America shall govern the construction and validity of

     this Stipulation and of the Order.

     11.     If any provision of this Stipulation and/or the Order is ruled to be invalid, illegal, or

     unenforceable by the decision of any Court of competent jurisdiction, the validity, legality, and

     enforceability7
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     thereby, unless the Regional Director in his or her sole discretion determines otherwise.

     12.     All references to the OTS in this Stipulation and the Order shall also mean any of the

     OTS' s predecessors, successors, and assigns.

     13.      The section and paragraph headings in this Stipulation and the Order are for convenience

     only and shall not affect the interpretation of this Stipulation or the Order.

     14.      The terms of this Stipulation and of the Order represent the final agreement of the parties


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    with respect to the subject matters thereof, and constitute the sole agreement of the parties with

     respect to such subject matters.

     15.     The Stipulation and Order shall remain in effect until terminated, modiifed, or suspended

     in writing by the OTS, acting through its Regional Director or other authorized representative.

     Signature of Directors/Board Resolution.

     16.     Each Director signing this Stipulation attests that he or she voted in favor of a Board

     Resolution authorizing the consent of the Association to the issuance of the Order and the

     execution of the Stipulation. This Stipulation may be executed in counterparts by the directors

     after approval of execution of the Stipulation at a duly called board meeting.




                                  [Remainder of Page Intentionally Left Blank]




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            WHEREFORE, the Association, by its directors, executes this Stipulation.

                                                                  Accepted by:

     LYDIAN PRIVATE BANK                                          OFFICE OF THRIFT SUPERVISION
     Palm. Beach, Florida

                 /s/                                                            /s/
     By:                                                          By:
        Rory A. Brown                                                James G. Price
        Chairman                                                     Regional Director, Southeast Region

                                                                  Date: See Effective Date on page 1


                      /s/

        Paul L. Maddock, Jr., Director


                      /s/

         James B. Meany, Director


                      /s/

         Dominick A. Telesco, Director


                      /s/

         William R. T -fe-1 D—
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